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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

PARRISH LAMAR DUGGAN, #197717,              )
                                            )
           Plaintiff,                       )
                                            )
   v.                                       ) CIVIL ACTION NO. 2:20-CV-329-RAH
                                            )
KENNY WAVER, et al.,                        )
                                            )
        Defendants.                          )

                                        ORDER

         On February 26, 2021, the Magistrate Judge entered a Recommendation (Doc.

36) to which no timely objections have been filed. After an independent review of the

file and upon consideration of the Recommendation, it is ORDERED that:

        1. The Recommendation of the Magistrate Judge is ADOPTED.

        2. This case is DISMISSED without prejudice for Plaintiff’s failure to file a

response in compliance with an order of this court.

        A separate Final Judgment will be entered.

        DONE, on this the 12th day of May, 2021.


                                          /s/ R. Austin Huffaker, Jr.
                                   R. AUSTIN HUFFAKER, JR.
                                   UNITED STATES DISTRICT JUDGE
